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CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on January 13, 2021




                                                                                                  Robert A Mark
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                Case Number: 15−29217−RAM
                                                                                                                Chapter: 13



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Sandra Colon
20301 NE 30 Ave #314
Aventura, FL 33180

SSN: xxx−xx−3091




                                                              FINAL DECREE



The trustee, Nancy K. Neidich, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
